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           EXHIBIT H
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 Mailing list archives
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              From         " Geir Magnusson Jr ." <ge ... @apache . o r g>
          Subjccc          PROPOSAL : Apache Harmony - J2SE 5 Project
               Datc        Fri , 06 May 2005 22 : 51 : 33 GMT
   THE FOLLOWlNG PROPOSAL HAS BEEN SENT TO THE APACHE 1NCUBATOR PMC via
   the general~incubator . apache.org mail list .

   It is being included here for posterity .

   Note to all

   we have established a list for discussions to keep project - specific
   mail traffic from overwhelming the general incubator list. Unless
   your comment is directed to the general Incubator community Or the
   Incubator PMC , please post everything Harmony - related to :

          ha rmony-dev ~ incuba to r . apache. org

   You can subscribe by sending an email to

          ha mon y- dev - subs c r i be~ i ncuba tOr . apache . org

   Until this proposal has been accepted by the Apache Incubator P~C ,
   these lists are provisional and do not constitute official lists for
   the project .


   Project Ilamony


   Motivation


   There is a clear need for an open- source version of Java Z, Standard
   Edition (J2SE) runtime platform, and there are many ongoing efforts
   to produce solutions (Katfe , Classpath , etc) . There are also efforts
   that provide alternati ve approaches to execution of Java bytecode
   (GCJ and lKVM) . All of these efforts provide a diversity of
   solutions , which is healthy , but barriers e><ist which prevent these
   efforts from reaching a greater potential .

   Proposal


   we propose that we create a new Apache project , Harmony , that will
   achieve the follOwing goals

   1) create a Compatible , independent implementation of J2SE 5
      under the Apache License .,2

   2) create a community- developed modular runtime IVM and class library )
      architecture to allow inde~ndent implementations to share runtime
      components . and allow inde~ndent innovation in runtime components

   In doing so , we intend to create a broad . collaborative community of
   contributors . implementors and users of the modular platform
   specification .

   To begin . we propose the following as a basic architectural blueprint
   as a starting point for our discussion :

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   We will create directly , via inclusion of independent third - party
   code , Or through contribution :

   a ) a freely implernentable specification of a modular VM
       and class library that allows for multiple , independent
       implementations




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  b) a test suite for interoperability testinq of the modules

   c) an implementation under the Apache License of the modular VM

  d) a class library under the Apache License compatible with
     the J2SE 5 specification that implements the defined interfaces

  We will Start with this mechanism because we desire to

    have a simple plan upon which codinq can immediately begin

    ensure that we have a focal point to begin the conversation
     among interested members of the community

    have a clearly defined set of teChnical needs to allow
     potential contributors, either code contributors Or
     individual participants , a basis for consideration

    ensure that this is a community effort - together we will
     architect and implement via fresh new code or donation

    produce a set of specifications/desiqns allowing multiple
     interoperable implamentations that allow for sharing ,
     extension and innovation

  We propose that the following people are considered the starting
  participants . This set represents mambers from across the community ,
  this diversity a factor we wish to Start with and preserve as we qrow .

   These individuals have expressed an interest in participatinq in the
   architecture and desiqn work . The information in parenthesis
   indicates other community participation Or relevant experiences of
   that individual :

     Guy Churchward (individual wi commercial VM experience)
      Joa~im Dahlstedt (individual wi commercial VM experience )
     Jeroen Fdjters (lKVM)
     Geir Maqnusson Jr . (Apache)
     Ricardo Morin (individual wI commercial VM experience)
     Georges Saab (individual wI commercial VM experience)
     Bruno Sou~a (SOUJava)
      Davanum Srinivas (Apache)
     Daliber Topic (Kaffe)
     'l"om Tromey (GCJ)
     Weldon Washburn {individual wI commercial VM experience)
     Mark Wielaard {Class path)

   and the following individuals have e xp ressed interest in
   participating as committers for the Apache-licensed implementation

     Jeroen Frijters (IKVM)
     Ben Laurie (Apache)
     Geir Magnusson Jr . (Apacha)
     Ricardo ~orin (individual wi commercial VM experience)
     Bruno Souza (sQUJava)
     Oavanum Srinivas {Apache)
     Daliber 'l"opic (Kaffe)
     Tom Tromey (GCJ)
     We ldon Washburn (individual wI commercial VM experience)

   These individuals will participate as lncubator MentOrS

     Noel Bergman
     Ben Laurie
     Geir Magnusson Jr .
     Stefano Mazzocchi
     Sam Ruby
     Leo Simons
     Davanum Srinivas

   The following Apache Members will be the sponsoring members

     Noel Bergman
     Jason Hunter
     Ben Laurie
     Ted Leung
     Geir Magnusson Jr .
     Stefano Ma~~occhi
     Sam Ruby




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                                              Oracle America v. Google, 3:10-cv-03561-WHA      GOOGLE-03173500
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      wo Simons
      Davanurn Srinivas

   The following community members support this effort :

      Danesa Coopa~
      Brian Goetz
      Doug Lea

   ope~ating   considarations


   0) Wa have astablishad a list for discussions . Unlass your commant
   is directed to the general Incubator community or the Incubator PMC,
   please post everything to :

        ha tmen y-dev~ i ncuba to r . apache . org

   You can subscribe by sending an email to

        ha rmon y-dev-subscr ihee i ncuba to r . apache . org

   Until this proposal has been accepted by the Apache Incubator PMC ,
   these lists are provisional .

   1) Due to the various known and un known risk factors of this project ,
   we propose that in addition to the required Individual Contributor
   License Agreement (ICLA) we shall require that any cornmittor to
   Harmony will have a Corporate Contributor License Agreement (CCLA ) ,
   when appropriate , on file with the ASF secretary , and will keep that
   document Current with respect to current employer to preserve
   committer status . We do this in orde~ to help protect the community ,
   both contributo~s and users , from unauthorized incorporation of code
   or other intellectual property .

   2 ) Histo~ically , the~e has been wide exposure to VM and class - library-
   specific sOurCe code that is the property of Sun MicrosyStem9 as well
   as others , as it is common for commercial J2SE implementations to be
   based on licensed Sun code . We wish to make every effort to ensure
   that the licenses and rights of external projects and efforts is
   properly respected . To that end , we will explore additional ways to
   work with the Apache Incubator to ensure that all IF is carefully
   monitored and t~acked as it enters the project .




   Geir Magnusson Jr                                            +1 - 203 - 665 - 6437
   gei rm~apache . org



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